Case 2:19-cr-00877-CCC Document 64-2 Filed 03/20/20 Page 1 of 2 PageID: 1357




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                        Hon. Claire C. Cecchi


                  v.

                                                Criminal No. 19-877
MATTHEW BRENT GOETTSCHE
[DEFENDANT TWO]
JOBADIAH SINCLAIR WEEKS                       COMPLEX CASE ORDER &
JOSEPH FRANK ABEL                             ORDER FOR CONTINUANCE
SILVIU CATALIN BALACI


      This matter having come before the Court on the application of the

United States, by Craig Carpenito, United States Attorney for the District of

New Jersey (by Jamie L. Hoxie, David W. Feder, Anthony P. Torntore, Assistant

U.S. Attorneys, appearing); for an order granting a continuance of proceedings

in the above-captioned matter; and for good cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

      1.     This case is an unusual or complex case within the meaning of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii), in light of the number of

defendants, the nature of the prosecution, and the existence of novel questions

of fact and law such that it is unreasonable to expect adequate preparation for

pretrial proceedings or for the trial itself within 70 days.

      2. The discovery in the case is expected to be voluminous, consisting of,

among other things, the review of nearly two million electronic records, several

                                          1
Case 2:19-cr-00877-CCC Document 64-2 Filed 03/20/20 Page 2 of 2 PageID: 1358




different images and extractions of over 80 digital devices that have been

seized, and the reconstitution and review of copies of website servers, and

additional time is necessary to ensure that, taking into account the exercise of

diligence, defense counsel have sufficient time to review and inspect discovery

and further investigate the charges in this matter.

      3.        The parties in this action have agreed on a process designed to

reasonably protect the defendants’ attorney-client privilege (the “Filter Process”)

and that Filter Process will not conclude until July 15, 2020, at the earliest.

      4.        As a result of the foregoing, pursuant to 18 U.S.C. § 3161(h)(7)(A)

and (h)(7)(B)(ii) and (iv), the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendants in a

speedy trial.

      IT IS, therefore, on this ___________day of March, 2020,

      (1)       ORDERED that this action be, and hereby is, continued from May

                11, 2020 until July 15, 2020, and it is further

      (2)       ORDERED that the period from May 11, 2020 through

July 15, 2020 be and it hereby is excluded in computing time under the

Speedy Trial Act of 1974, 18 U.S.C. § 3161 et seq.




                                         __________________________________
                                         Honorable Claire C. Cecchi
                                         United States District Judge


                                           2
